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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS



                                                     : Case No. 3:17-cv-00094-MJR-DGW
ROSLYN GRAY,
          Plaintiff,                                 : CIVIL ACTION
                                                     :
       v.                                            :
                                                     :
JEFFERSON CAPITAL SYSTEMS, LLC,                      :
           Defendant.                                :
                                                     :


               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED TO by the Plaintiff and Plaintiff’s

attorney, that whereas no party hereto is an infant, incompetent person for whom a committee

has been appointed or conservatee, and no person not a party has an interest in the subject matter

of the action, that the above entitled action against Defendant shall be and hereby is dismissed

with prejudice and on the merits, without costs, or disbursements, or attorney’s fees to any party

pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, and that judgment of

dismissal with prejudice may be entered in the above entitled action pursuant hereto.



Dated: August 30, 2017                                         Respectfully Submitted,

                                                                /s/Yaakov Saks
                                                               Yaakov Saks Esq.
                                                               RC Law Group, PLLC
                                                               285 Passaic Street
                                                               Hackensack, NJ 07601
                                                               ysaks@rclawgroup.com
                                                               Tel. 201-282-6500
                                                               Fax 201-282-6501
                                                               Attorneys for Plaintiff

                                      Certificate of Service
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        I hereby certify that on this date, I electronically filed this Notice of Voluntary Dismissal
using the CM/ECF system which will automatically send email notification of such filing to all
attorneys of record.


       This 30th day of August, 2017                   Respectfully Submitted,

                                                       /s/ Yaakov Saks
                                                       Yaakov Saks
